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System/Mirroring: Packages / A domain     2023-07-31 15:11:51                                                       repo.anaconda.comGET              200 /pkgs/main/linux-64/python-3.10.12-h955ad1f_0.conda                   28117344
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